                    EXHIBIT A




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                           STATE OF TENNESSEE 2 1 ST jUDICI.AL DISTRICT
                         WILLIAMSON COUNTY, FRANKLIN, TENNESSEE 37064
                                        CIRCUIT COURT



                   '-f      2,
                           ~PLAINTIFF


    VERSUS                                                         CIVIL, ACTION NOA0                 32A2 9
                                                    DEFENDAN'T




                                                   SUMMONS

To the above named Defendant:

      You are summoned to appear and defend a civil action (Complaint of Divorce) filed against you in Circuit Court,
Williamson County, Tennessee, and your defense must be made within thirty (30) days from the date this summons is
served upon you. You are further directed to file your defense with the Clerk of the Court and send a copy to the
Plaintiff s attorney at the address listed below:

ATTORNEY FOR PLAINTIFF               h~w~M             (~     Lr~(~i            I)Phone No. 't293         ~{,j1



       In case of your failure to defend this action by the above date, judgment by default will be rendered against you
for the relilef    anded in the complaint.




                    Issul120/3DEBBIE                                              McMILLAN BARRETT
                                                                        Ciruit Court Clerk, Williamson County




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           yo~u have adisability &
         SIf
        require assistance, please
      S Call 615-790-5428SHRF

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                                                           RETURN ON PERSONAL SERVICE OF SUMMONS

                                                                       Case No.__________                            ___




   I hereby certify and return, that on the              ________day              of                                             20__, I served this summons together with

   the complaint herein as follows:_______________________________________________




                                                                                                  SHERIFF



   I failed to sere this summons within 30 days after its issuance because:______________________



                                                                                                                                 Sheriff

                                                                RETURN ON SERVICE OF SUMMONS BY MAIL

                                                            da of                                         I sent, postage prepaid, by registered return
  :1Ihereby certify and return, that on the
                                                                                                                           ,20
                                                                  -.

                                                                                                    of the complaint in Case No-._______
    receipt mail or certified return receipt mnail; a certified copy of the summons and a copy
                                                                       On the                      of
                                                                                            _______day
                                                                                                                                     .20     1Ireceived.
    to the defendant,..                                     .

                                                                                                                                                 othe
                                                                                                                                                 on
    the return receipt for said registered or certified mail, which, had been signed by;                                                            are
                                                                   Said return receipt is attached to this. original surnmrons and both documents
     *day               of                   .,20


*.being    sent herewith to the Circuit Court Clerk for filing.

    SWORN TO AND SUBSCRIBED BEFORE ME ON..___________________
    THIS..                 DAY OF        .                ~              20                 PLAINTIF F, PLAINTIFF'S ATTORNEY OR OTHER PERSON..
                              ______AUTHORIZED
                                                                                                          BY STATUTE To SERVE PROCESS

          ___NOTARY PUBLIC or                                   DEPUTY CLERK

    MY COMMISSION EXPIIRES:________


    TO THE DEFENDANT(S):
        Tenness e awprovides a fourthousand dollar ($4,000.00) Personal Property exemption
    frorn execution or seizure to satisfy' ajudgement. If ajudgement should be entered against
    you in this action and you wish to claim property as exempt, you must file a written list,
*.under    oath, of the items you wish to claim as exempt with the clerk of the court. The list
    may be filed at any time and may be changed by you thereafter as necessary; However,
                                                                                                                                             RETURN
    unless it is filed before the judgement becomes final, it will not be effective as to any       ..          .ATTACH


    execution of gamnishment issued prior to the filing of the list Certain items ar
                                                                                                                                       RECEIPT HERE
    automatically exempt by law and do notrneed to be listed; these include items or necessary
    wearing apparel (clothing) for yourself and your family and trunks or other receptacles                                                APPLICABLE)
    necessary to contain such apparel, family portraits, the family Bible, and school books.
                                                                                                         .(IF

                                                                                        you do
* Should any of these items be seized you would have the right to recover them. If
    not understand your exemption right or how to exercise it, you may wish to seek the
    counsel of a lawyer. Pursuant to section T.C.A. 26-518-523..                            .              .




    STATE OF TENNESSEE                                     I, DEBBIE McMILLAN BARRETT, Clerk of the Circuit Court in the State and County
    COUNTY OF WILLIAMSON                                   aoeiddoerbcertify this to be a true and correct copy o h rgnl
                                                           summons issued in this case.
    (To be completed only if                        **
                                                                                              DEBBIE MoMILLAN BARRETT, CLERK
    copy certification required).
                                                                                                  *By:           *
                                                                                                                                                                      D.C.


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                              IN THE CIRCUIT COURT OF                                  FILED-
                     WILLIAMSON COUNTY, TENNESSEE                                         226 2003
                                   TWENY-FRST
                                       UDIIAL                ISTICTDebbie McMillan Barrett
                                     TRST
                                       WEN UDI
                                           Y-F       IAL     IST    ICTCiruit               Court


DAVID JAY FLY,)

       Plaintiff,)

V.                                                         No.     201~3o429
                          -                      )                 JURY DEMAND
ANIXTER, INC.,)

       Defendant.)



                                     COMPLAINT

       Plaintiff, David Jay Fly, for his complaint avers as follows:

       1.     Plaintiff is a citizen and resident of Chattanooga, Hamilton County,

Tennessee. He resides at 422 Eastview Drive, Chattanooga,. Hamilton County,:

Tennessee 37404. Plaintiff was employed by defendant from December of 2010 until

August of 2012 as an inside sales representative.

       2.     Defendant is, upon information and belief, a corporation formed,

organized and existing pursuant to the laws of the State of Delaware       Its principal place

of business, upon information and belief, is 2301 Patriot Boulevard, Glenview, Illinois

60026. Pursuant to the Tennessee Secretary of State's Office, defendant is authorized to.

do business within the State of Tennessee, and its registered agent for service of process



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is Corporation Service Company, 2908 Poston Avenue, Nashville, Tennessee 37203.

Defendant maintainfs, upon information and belief, a branch office at 500 Wilson Pike

Circle, Suite 310, Brentwood, Williamson County, TN 37027.

       3.,    This Honorable Court has personal jurisdiction over the parties in this

civil action. This Honorable Court has subject matter jurisdiction over this civil action.

Venue is proper in this Honorable Court.

       4.,.   Defendant is in. the business, inter ali of selling communications and

security products, electrical land electronic wire and cable, fasteners and components to

customers. Defendant employed plaintiff as an inside sales representative, from

December of 20 10 until August 27, 2012, at its branch office in Brentwood, Williamson

County, Tennessee.

       5.     Until approximately August 15, 2012, defendant's branch manager and

employment superior to whom plaintiff reported was Anita Lewis, .and Darrell Sadler.         .-




was a co-worker who also was employed in the Brentwood branch office. Beginning on

approximately August 15, 2012, Darrell Sadler was promoted and replace& Anita Lewis               -




as branch manager.

       6.     Prior to his promotion to branch manager and while a co-worker of

plaintiff (from approximately June 1, 2012 continuing until approximately August 15,

2012), Darrell Sadler repeatedly offered Xanax pills (a narcotic prescription medication)

to plaintiff. On each occasion, plaintiff *refused Darrell Sadler's illegal and shocking


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offer. Plaintiff confronted Darrell Sadler demanding that he stop offering him Xanax

*pills; plaintiff complained to his employment supervisor (Anita Lewis); and sent an

email to his employment superior (Anita Lewis) complaining about Darrell Sadler's

actions. Plaintiff's whistle-blowing complaints were discussed with him directly by his

employment supervisor (Anita Lewis), and his employment supervisor (Anita Lewis)

also discussed plaintiff's complaints with other managerial employees of defendant.

Instead of remedying the situation caused by Darrell Sadler's misconduct, Darrell

Sadler was promoted, and shortly after his promotion, Darrell Sadler terminated

plaintiff's employment on August 27, 2012.

       7.     The sole reason (and a fortiori a substantial motivating factor) for the

termination of plaintiff's employment was his whistle-blowing concerning the illegal.

activities of his co-worker and later employment superior (Darrell Sadler) that violated

the laws of the State of Tennessee. Defendant's actions constitute retaliatory discharge

in violation of the public policy of the State of Tennessee and well-settled Tennessee:

statutory and common law. Defendant's reprehensible actions, furthermore, are so

egregious that they evince an intentional, reckless, malicious and/or fraudulent design-

to subvert and violate the narcotics laws of the State of Tennessee.

       8.     Plaintiff has suffered considerable damages due to defendant's retaliatory

discharge and misconduct including, but not limited to, lost wages, lost future, earnings,

impairment of earning capacity, emotional distress and other damages. Defendant's:


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actions, moreover, warrant an award of punitive damages to discipline, correct and

punish defendant's malicious and gross misbehavior and to deter similar misconduct in

the future.

       WHEREFORE, PREMISES CONSIDERED, plaintiff demands:

       A.      A jury to try this civil action;

       B.      A judgment against defendant for compensatory damages in a fair and

reasonable amount to be proven at the jury trial of this civil action not to exceed Two

Hundred and Fifty Thousand Dollars ($250,000.00);

       C.      A judgment against defendant for punitive damages in an appropriate

amount to be proven at the jury trial of this civil action not to exceed an additional Two

Hundred and Fifty Thousand Dollars ($250,000.00);

       D.      The costs of this cause; and

       E.      Such further, other and general relief as may be just, proper and

appropriate.

                                              Respectfully submitted:



                                              Michael M. Raulston (BPR #1845)
                                              511 Georgia Avenue, Second Floor
                                              Chattanooga, Tennessee 37403
                                              423-756-1233 (Telephone)
                                              423-756-1250 (Telecopier)

                                              Attorney for Plaintiff


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